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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                     8:95CR12
                              )
          v.                  )
                              )
LUIS ANTONIO PADILLA-PENA,    )                     ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on defendant’s petition
for modification of fine (Filing No. 1481), the objection of the

government (Filing No. 1486), and the reply of the defendant to

the government’s objections (Filing No. 1489).

          It appears to the Court that the defendant’s ability to

pay a fine is limited and that it is appropriate that the fine

imposed be modified to an amount which the Court is satisfied the

defendant will be able to pay.       This amount is $12,000.

Accordingly,

          IT IS ORDERED that the judgment and committal order of
this Court is modified to provide that the fine imposed upon

defendant is $12,000.     He will receive credit for all amounts

which he has presently paid.

          DATED this 21st day of June, 2011.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _____________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court
